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                IN THE UNITED STATES BANKRUPTCY COURT                    U.S. BANKRUPTCY
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA                  COURT - :'3$

 IN RE:

 VIDEOMINING CORPORATION,                             Bankruptcy No. 20-20425-GLT

               Debtor.                                Chapter 11

 VIDEOMINING CORPORATION,                             Document No. 214

               Movant,
        vs.

 NO RESPONDENT.

     ORDER APPROVING RETENTION OF ICAP PATENT BROKERAGE, LLC AS
                          PATENT BROKER

        AND NOW, this ______
                       12th day of _________________,
                                      January         2020,
                                                         1 upon consideration of

 the APPLICATION FOR APPROVAL OF PATENT BROKER (the “Application”), it is

 ORDERED, ADJUDGED and DECREED as follows:

        1.     The above referenced Application is hereby approved as of the date the

 Application was filed.

        2.     ICAP Patent Brokerage, LLC (ICAP), 173 Huguenot St., Suite 200, New

 Rochelle, NY 10801, is hereby appointed as Patent Broker for the Debtor in this

 bankruptcy proceeding pursuant to the terms described in Exhibit A which is attached to

 the Application, for the purpose of acting as the Debtor’s Patent Broker in connection with

 the sale of the Debtor’s intellectual property. A commission structure as follows is

 tentatively approved subject to final court order:

               a.     20% for any sales price up to $1,000,000;

               b.     15% if the sales price is between $1,000,001 and 3,000,000;

               c.     12% if the sales price is between $3,000,0001 and $5,000,000; and
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               d.     10% if the sales price is greater than $5,000,000.

        3.     Professional persons or entities performing services in this case are advised

 that approval of fees for professional services will be based on other factors as well,

 including results accomplished, the time and labor reasonably required by the applicant

 to perform the task(s) involved, the customary fee for similar services, the time limitations

 imposed by the retention or the circumstances encountered while performing the

 services, the relationship of the services, if any, to the ultimate bid amount of the subject

 intellectual property, and the extent and nature of awards in similar cases.

        4.     Approval of any application for appointment of a professional in which

 certain fees are requested is not an agreement by the Court to allow such fees in the

 requested amount.     Final compensation, as awarded by the Court after notice and

 hearing, may be more or less than the requested amount based on application of the

 above criteria.

        5.     Applicant shall serve the within Order on all interested parties and file

 a certificate of service.


         DEFAULT ENTRY
                                                   ______________________________
                                                   ________
                                                          __________
                                                                ___ __
                                                                __   ___
                                                                       ______________
                                                   Gregory L
                                                           L.. Taddonio
                                                               Taddonio
                                                   United States Bankruptcy Court Judge
                                                                                  Judg
 c:     Debtor
        Counsel
        ICAP Patent Brokerage, LLC
        Office of the U.S. Trustee
